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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                     Plaintiff,                                 4:18CR3086

      vs.
                                                                  ORDER
SHANNON MICHELLE GILLISPIE, and
MICHAEL DEAN ELMSHAUSER,

                     Defendants.


      Defendant Gillespie has moved to continue the pretrial motion deadline,
(Filing No. 23), because Defendant Gillespie and defense counsel need
additional time to fully review the discovery received before deciding if pretrial
motions should be filed. The motion to continue is unopposed. Based on the
showing set forth in the motion, the court finds the motion should be granted.
Accordingly,

      IT IS ORDERED:

      1)       Defendant Gillespie’s motion to continue, (Filing No. 23), is granted.

      2)       As to both defendants, pretrial motions and briefs shall be filed on
               or before October 5, 2018.

      3)       As to both defendants, trial of this case is set to commence before
               the Honorable John M. Gerrard, United States District Judge, in
               Courtroom 1, United States Courthouse, Lincoln, Nebraska, at 9:00
               a.m. on November 5, 2018, or as soon thereafter as the case may
               be called, for a duration of four (4) trial days. Jury selection will be
               held at commencement of trial.

      4)       The ends of justice served by granting the motion to continue
               outweigh the interests of the public and the defendants in a speedy
               trial, and as to both defendants, the additional time arising as a
               result of the granting of the motion, the time between today’s date
               and October 5, 2018 shall be deemed excludable time in any
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          computation of time under the requirements of the Speedy Trial Act,
          because although counsel have been duly diligent, additional time is
          needed to adequately prepare this case for trial and failing to grant
          additional time might result in a miscarriage of justice. 18 U.S.C. §
          3161(h)(1), (h)(6) & (h)(7). Failing to timely object to this order as
          provided under this court’s local rules will be deemed a waiver of any
          right to later claim the time should not have been excluded under the
          Speedy Trial Act.

    August 13, 2018.
                                          BY THE COURT:

                                          s/ Cheryl R. Zwart
                                          United States Magistrate Judge




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